                          Case 1:23-cv-02866 Document 1-2 Filed 09/27/23 Page 1 of 1

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        CENTER FOR BIOLOGICAL DIVERSITY


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   U.S. FISH AND WILDLIFE SERVICE; MARTHA
 WILLIAMS, in her official capacity as Director of the
 U.S. Fish and Wildlife Service; and DEB HAALAND,
  in her official capacity as Secretary of the Interior
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                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV U.S. Fish and Wildlife Service
                                          1849 C Street NW
                                          Washington, DC 20240




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ZKRVHQDPHDQGDGGUHVVDUH Margaret E. Townsend
                                          Center for Biological Diversity
                                          P.O. Box 11374
                                          Portland, OR 97211



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